                  CASE 0:04-cv-01508-DSD-SRN Document 23 Filed 03/29/05 Page 1 of 1
OAO450 (Rev. 5/85) Judgment in a Civil Case


                                         UNITED STATES DISTRICT COURT
                                               District of Minnesota


Elena Sefansky,
                                                               JUDGMENT IN A CIVIL CASE
   V.
                                                                      Case Number: 04-CV-1508 (DSD/SRN)
United States of America, doing business as
United States Postal Service,




    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has
    rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard
  and a decision has been rendered.

    IT IS ORDERED AND ADJUDGED THAT:

    Defendant’s motion to dismiss [Docket No. 4] is granted.


                         March 29, 2005                                  RICHARD D. SLETTEN, CLERK
Date
                                                                                 s/Jenny Beck
                                                               (By)                    Jenny Beck,   Deputy Clerk




                                                                                                          Form Modified: 09/16/04
